Fill in this information to identify the case:

             William Berman
Debtor Name __________________________________________________________________

                                                                            Oregon
United States Bankruptcy Court for the:_______________________ District of ________
                                                                      (State)

Case number:    19-60230-pcm11
                _________________________




Official Form 426
FR]VZQVP GR[Z]_ GRTN]QVYT JNW`R+ E[R]N_VZY^+ NYQ F]ZSV_NOVWV_d ZS >Y_V_VR^
VY KUVPU _UR 8NK[VYaZ >^_N_R @ZWQ^ N H`O^_NY_VNW Z] <ZY_]ZWWVYT AY_R]R^_
                                                                                                                                         12/17



                                             3/25/2019
           This is the Periodic Report as of __________    on the value, operations, and profitability of those entities in which a
           1@=NIL CIF?M& IL NQI IL GIL@ 1@=NILM >IFF@>NDP@FS CIF?& < MO=MN<HND<F IL >IHNLIFFDHB DHN@L@MN $< U0IHNLIFF@? 5IH-Debtor
           2HNDNSV%& <M L@KODL@? =S /<HELOJN>S 6OF@ +)*-(,( 3IL JOLJIM@M IA NCDM AILG& U1@=NILV MC<FF DH>FO?@ NC@ @MN<N@ IA MO>C
           Debtor.
         William
           [Name Berman
                 of Debtor] holds a substantial or controlling interest in the following entities:
               Name of Controlled Non-Debtor Entity                                      Interest of the Debtor          Tab #

           B. & J. Property Investments, Inc.                                            50%
           Better Business Management, Inc.                                              50%
           William Lloyd Developments, Inc.                                              28%
           J. B. & B. Investment Group, LLC                                              20%

           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
                Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
                <H? < MN<N@G@HN IA >C<HB@M DH MC<L@CIF?@LMW IL J<LNH@LMW @KODNS $deficit) for the period covered by the Entity Report,
                along with summarized footnotes.
                Exhibit B describes the Controlled Non-1@=NIL 2HNDNSWM =OMDH@MM IJ@L<NDIHM(

                Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

                Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
                allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
                Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
                Entity is a party with any other Controlled Non-Debtor Entity.

                Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
                professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                MO>C J<SG@HNM& NIB@NC@L QDNC NC@ L@<MIH AIL NC@ @HNDNSWM J<SG@HN NC@L@IA IL DH>OLL@H>@ IA <HS I=FDB<NDIH QDNC
                respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




Official Form 426           Periodic Report About Controlled Non-5FCUPS 6OUJUJFTZ @BMVF' <QFSBUJPOT, and Profitability       page /



                                       Case 19-60230-pcm11                      Doc 52   Filed 03/25/19
Debtor Name    William Berman
              _______________________________________________________                                     19-60230-pcm11
                                                                                             Case number_____________________________________




           The undersigned, having reviewed the Entity Reports for each Controlled Non-5FCUPS 6OUJUY' BOE CFJOH GBNJMJBS XJUI UIF 5FCUPSZT
           financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
           attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
           the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3

           For non-individual
           Debtors:                      %  _____________________________________________
                                            Signature of Authorized Individual

                                            _____________________________________________
                                            Printed name of Authorized Individual

                                            Date _______________
                                                   MM / DD      / YYYY

           For individual Debtors:
                                         % /s/ William Berman
                                            ___________________________________________            %   ____________________________________________
                                            Signature of Debtor 1                                      Signature of Debtor 2
                                             William Berman
                                            _______________________________________                    ____________________________________________
                                            Printed name of Debtor 1                                   Printed name of Debtor 2
                                                  3/25/2019
                                            Date _______________                                       Date _______________
                                                   MM / DD      / YYYY                                        MM / DD       / YYYY




Official Form 426               Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability            page 0

                                       Case 19-60230-pcm11                          Doc 52   Filed 03/25/19
Debtor Name
                William Berman
               _______________________________________________________
                                                                                                          19-60230-pcm11
                                                                                             Case number_____________________________________




                                                  B. & J.of Property
              >cUVOV_ 98 ?VYNYPVNW H_N_RXRY_^ SZ] LName                 Investments,
                                                            Controlled Non-Debtor EntityM Inc.




        Financial statements for B. & J. Property Investments, Inc. ("B&J") were filed by B&J in its own
        Chapter 11 Bankruptcy, Case No. 19-60138-pcm11 (Dist. Oregon). Specifically, B&J's financial
        statements were filed as Exhibit 2 to B&J's Case Management Documents, which were filed in
        B&J's case at Docket No. 115. A copy of B&J's Case Management Documents are attached hereto
         for convenience.




Official Form 426               Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 1

                                       Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
 1   Timothy J. Conway, OSB No. 851752
        Direct Dial: (503) 802-2027
 2      Facsimile: (503) 972-3727
        E-Mail:      tim.conway@tonkon.com
 3   Ava L. Schoen, OSB No. 044072
        Direct Dial: (503) 802-2143
 4      Facsimile: (503) 972-3843
        E-Mail:      ava.schoen@tonkon.com
 5   TONKON TORP LLP
     1600 Pioneer Tower
 6   888 S.W. Fifth Avenue
     Portland, OR 97204
 7
             Attorneys for Debtor
 8

 9

10                            UNITED STATES BANKRUPTCY COURT

11                                      DISTRICT OF OREGON

12   In re                                                          Case No. 19-60138-pcm11

13   B. & J. Property Investments, Inc.,                            CASE MANAGEMENT
                                                                    CONFERENCE DOCUMENTS
14                           Debtor.

15

16                  Pursuant to the Order Scheduling Case Management Conference dated
17   January 28, 2019 [ECF No. 62], attached hereto are the following documents:
18                  1.       Debtor's financial projections through December 2019 are attached as
19   Exhibit 1.
20                  2.       Debtor's historical financial information for 2015, 2016, and 2017 is
21   attached as Exhibit 2. Debtor’s financial statement for 2018 is not yet completed.
22                  3.       Debtor’s income from January 17, 2019 to February 14, 2019 was
23   $21,250, and its total post-petition expenses, excluding bankruptcy-related legal fees, were
24   $6,675.96.
25                  4.       Debtor anticipates incurring professional fees for (a) its bankruptcy
26   attorneys, Tonkon Torp LLP (“Tonkon Torp”); (b) its special purpose counsel, Saalfeld

Page 1 of 2 - CASE MANAGEMENT CONFERENCE DOCUMENTS


                                                Tonkon Torp LLP
                                            888 SW Fifth Ave., Suite 1600
                                                 Portland, OR 97204
                                                   503.221.1440
                         Case19-60138-pcm11
                         Case 19-60230-pcm11 Doc
                                             Doc115
                                                 52 Filed
                                                    Filed03/25/19
                                                          02/21/19
 1   Griggs PC (“Saalfeld Griggs”); and (e) its accountants, Fischer, Hayes, Joye & Allen, LLC

 2   (“Fischer Hayes”). These professionals estimate their fees as follows:

 3                            1.   Tonkon Torp estimates it will incur approximately $15,000 to

 4   $30,000 per month in fees and costs through confirmation.

 5                            2.   Saalfeld Griggs will be compensated on an hourly basis in

 6   accordance with Saalfeld Griggs's ordinary and customary hourly rates in effect on the date

 7   services are rendered.

 8                            3.   Fischer Hayes will be compensated on an hourly basis in

 9   accordance with Fischer Hayes's ordinary and customary hourly rates in effect on the date

10   services are rendered and are estimated to be less than $10,000 through confirmation.

11                                 DATED this 21st day of February, 2019.

12                                             TONKON TORP LLP

13

14                                             By /s/ Timothy J. Conway
                                                  Timothy J. Conway, OSB No. 851752
15                                                Ava L. Schoen, OSB No. 044072
                                                  Attorneys for Debtor
16

17

18
19

20

21

22

23

24
25

26

Page 2 of 2 - CASE MANAGEMENT CONFERENCE DOCUMENTS


                                              Tonkon Torp LLP
                                          888 SW Fifth Ave., Suite 1600
                                               Portland, OR 97204
                                                 503.221.1440
                      Case19-60138-pcm11
                      Case 19-60230-pcm11 Doc
                                          Doc115
                                              52 Filed
                                                 Filed03/25/19
                                                       02/21/19
        EXHIBIT 1




Case19-60138-pcm11
Case 19-60230-pcm11 Doc
                    Doc115
                        52 Filed
                           Filed03/25/19
                                 02/21/19
                                                                                                                             B&J Property Investments Budget to end of 2019
                                                                                                 1/15/2019 ‐
                                                                                                                  March‐19        April‐19       May‐19       June‐19       July‐19       August‐19   September‐19    October‐19      November‐19     December‐19     TOTAL
                                                                                                  2/28/2019

                                                 Lease Income*                               $      50,500.00 $         ‐     $          ‐   $        ‐   $         ‐   $         ‐   $          ‐    $         ‐     $         ‐     $         ‐     $         ‐

                                                 Income from RV/Storage Operations*          $      41,750.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $                   83,500.00 $ 83,500.00 $         83,500.00 $     83,500.00

                                               Total Income                                  $      92,250.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $ 83,500.00 $                   83,500.00 $ 83,500.00 $         83,500.00 $ 83,500.00 $ 927,250.00

                                               Expenses
                                                 Payroll/Benefits                            $            ‐     $ 34,500.00 $ 34,000.00 $ 34,000.00 $ 34,500.00 $ 34,000.00 $ 34,000.00 $                 34,500.00   $   34,000.00   $   34,000.00   $   34,500.00
                                                 Adequate Assurance                          $      14,080.16   $ 14,080.16 $ 14,080.16 $ 14,080.16 $ 14,080.16 $ 14,080.16 $ 14,080.16 $                 14,080.16   $   14,080.16   $   14,080.16   $   14,080.16




Case
                                                 Accounting                                  $         150.00   $    300.00 $    300.00 $    300.00 $    300.00 $    300.00 $    300.00 $                    300.00   $      300.00   $      300.00   $      300.00




Case
                                                 Auto                                        $         150.00   $    300.00 $    300.00 $    300.00 $    300.00 $    300.00 $    300.00 $                    300.00   $      300.00   $      300.00   $      300.00
                                                 Auto Insurance                              $            ‐     $    300.00 $       ‐   $       ‐   $    300.00 $       ‐   $       ‐   $                    300.00   $         ‐     $         ‐     $      300.00
                                                 US Trustee Fees                             $            ‐     $       ‐   $    975.00 $       ‐   $       ‐   $    975.00 $       ‐   $                       ‐     $      975.00   $         ‐     $         ‐
                                                 Property Taxes                              $            ‐     $       ‐   $       ‐   $       ‐   $       ‐   $       ‐   $       ‐   $                       ‐     $   64,500.00   $         ‐     $         ‐
                                                 Liability Insurance                         $            ‐     $       ‐   $       ‐   $       ‐   $       ‐   $       ‐   $       ‐   $                       ‐     $   19,200.00   $         ‐     $         ‐
                                                 Insurance                                   $         100.00   $    175.00 $    175.00 $    175.00 $    175.00 $    175.00 $    175.00 $                    175.00   $      175.00   $      175.00   $      175.00
                                                 Tax Distribution                            $            ‐     $       ‐   $ 30,000.00 $       ‐   $       ‐   $       ‐   $       ‐   $                       ‐     $         ‐     $         ‐     $         ‐
                                                 Electricity                                 $      14,000.00   $ 11,500.00 $ 12,000.00 $ 9,500.00 $ 8,000.00 $ 8,500.00 $ 9,000.00 $                     10,000.00   $    8,000.00   $    8,000.00   $   11,000.00
                                                 Electrical Deposit                          $      33,000.00   $       ‐   $       ‐   $       ‐   $       ‐   $       ‐   $       ‐   $                       ‐     $         ‐     $         ‐     $         ‐




 Case19-60138-pcm11
                                                 Gas                                         $         500.00   $    700.00 $    400.00 $    300.00 $    200.00 $    200.00 $    200.00 $                    200.00   $      200.00   $      300.00   $      500.00




     19-60230-pcm11
                                                 Water/Sewer                                 $       1,500.00   $ 2,700.00 $ 2,600.00 $ 2,700.00 $ 2,800.00 $ 2,900.00 $ 3,100.00 $                        3,000.00   $    3,100.00   $    2,400.00   $    2,800.00
                                                 Cable                                       $       1,600.00   $ 3,200.00 $ 3,200.00 $ 3,200.00 $ 3,200.00 $ 3,200.00 $ 3,200.00 $                        3,200.00   $    3,200.00   $    3,200.00   $    3,200.00
                                                 Telephone                                   $         425.00   $    850.00 $    850.00 $    850.00 $    850.00 $    850.00 $    850.00 $                    850.00   $      850.00   $      850.00   $      850.00




      19-60138-pcm11 Doc
                     Doc
                                                 Garbage                                     $       1,350.00   $ 2,700.00 $ 2,700.00 $ 2,700.00 $ 2,700.00 $ 2,700.00 $ 2,700.00 $                        2,700.00   $    2,700.00   $    2,700.00   $    2,700.00
                                                 Office Supplies                             $         250.00   $    500.00 $    500.00 $    500.00 $    500.00 $    500.00 $    500.00 $                    500.00   $      500.00   $      500.00   $      500.00




                         52
                      Doc115
                                                 Background Checks/Screens                   $          60.00   $    120.00 $    120.00 $    120.00 $    120.00 $    120.00 $    120.00 $                    120.00   $      120.00   $      120.00   $      120.00
                                                 Maintenance                                 $         450.00   $    900.00 $    900.00 $    900.00 $    900.00 $    900.00 $    900.00 $                    900.00   $      900.00   $      900.00   $      900.00
                                                 Advertising                                 $       1,150.00   $    290.00 $    290.00 $    290.00 $    290.00 $    290.00 $    290.00 $                    290.00   $      290.00   $      290.00   $      290.00
                                                 RV Park Recreation                          $          75.00   $    150.00 $    150.00 $    150.00 $    150.00 $    150.00 $    150.00 $                    150.00   $      150.00   $      150.00   $      150.00




                          6 Filed
                             Filed
                                                 Postage                                     $          50.00   $    100.00 $    100.00 $    100.00 $    100.00 $    100.00 $    100.00 $                    100.00   $      100.00   $      100.00   $      100.00
                                                 Stock for Park Store                        $         100.00   $    200.00 $    200.00 $    200.00 $    200.00 $    200.00 $    200.00 $                    200.00   $      200.00   $      200.00   $      200.00
                                                 Miscellaneous                               $       1,000.00   $ 1,000.00 $ 1,000.00 $ 1,000.00 $ 1,000.00 $ 1,000.00 $ 1,000.00 $                        1,000.00   $    1,000.00   $    1,000.00   $    1,000.00

                                               Total Expenses                                $      69,990.16 $ 74,565.16 $ 104,840.16 $ 71,365.16 $ 70,665.16 $ 71,440.16 $ 71,165.16 $                  72,865.16 $ 154,840.16 $        69,565.16 $ 73,965.16 $ 905,266.76




                             Filed01/17/19
                                   03/25/19
                                    02/21/19
                                               Net Income                                    $      22,259.84 $     8,934.84 $ (21,340.16) $ 12,134.84 $ 12,834.84 $ 12,059.84 $ 12,334.84 $              10,634.84 $ (71,340.16) $       13,934.84 $      9,534.84 $ 21,983.24

                                                 * Based on estimated effective date of lease rejection.




PAGE 1 OF 1
  EXHIBIT 1
        EXHIBIT 2




Case19-60138-pcm11
Case 19-60230-pcm11 Doc
                    Doc115
                        52 Filed
                           Filed03/25/19
                                 02/21/19
        B. & J. PROPERTY INVESTMENTS, INC.
              FINANCIAL STATEMENTS
         AND SUPPLEMENTARY INFORMATION
           AS OF AND FOR THE YEAR ENDED
                 DECEMBER 31, 2015
    TOGETHER WITH INDEPENDENT ACCOUNTANT'S
                COMPILATION REPORT




!




I



I



!




    Case19-60138-pcm11
         19-60230-pcm11 Doc
                        Doc115
                            52 Filed                EXHIBIT
                                                    EXHIBIT 22
    Case                        Filed 03/25/19
                                Filed  02/21/19
    Case 19-60138-pcm11 Doc 115
                                                  Page
                                                  Page 1
                                                       1 of
                                                         of 24
                                                            24
                                              TABLE OF CONTENTS




                                                                                       Page


            Independent Accountant's Compilation Report                                   1


            Statement of Assets, Liabilities, and Stockholders' Equity - Tax Basis        2


            Statement of Revenues, Expenses, and Retained Earnings - Tax Basis            3


!           Supplementary Information:

I           Schedule of Operating Expenses - Tax Basis                                    4




    i




        ;




                              Case19-60138-pcm11
                                   19-60230-pcm11 Doc
                                                  Doc115
                                                      52 Filed                         EXHIBIT
                                                                                       EXHIBIT 22
                              Case
                              Case 19-60l38-pcm11 Doc    Filed03/25/19
                                                               02/21/19              Page
                                                                                     Page 2
                                                                                          2 of
                                                                                            of 24
                                                                                               24
                   FISCHER, HAYES, JOYE & ALLEN, LLC
      0            Certified Public Accountants      (cpaJ The CPA. Never Underestimate the Value™



                      INDEPENDENT ACCOUNTANT'S COMPILATION REPORT


j

     To the Stockholders of
     B. & J. Property Investments, Inc.
     Salem, Oregon



     Management is responsible for the accompanying financial statements of B. & J. Property
     Investments, Inc., (an S corporation), which comprise the statement assets, liabilities, and
     stockholders' equity - tax basis as of December 31, 2015, and the related statement of revenues,
     expenses, and retained earnings - tax basis for the year then ended, and for determining that the tax
     basis of accounting is an acceptable financial reporting framework.          We have performed a
     compilation engagement in accordance with Statements on Standards for Accounting and Review
     Services promulgated by the Accounting and Review Service Committee of the AICPA. We did
     not audit or review the financial statements nor were we required to perform any procedures to
     verify the accuracy or completeness of the information provided by management. Accordingly, we
     do not express an opinion, a conclusion, nor provide any form of assurance on these financial
     statements.
-I

     The financial statements are prepared in accordance with the tax basis of accounting, which is a
     basis of accounting other than accounting principles generally accepted in the United States of
     America.


     Management has elected to omit substantially all of the disclosures ordinarily included in financial
     statements prepared in accordance with the tax basis of accounting. If the omitted disclosures were
     included in the financial statements, they might influence the user's conclusions about the
     Company's assets, liabilities, equity, revenues, and expenses. Accordingly, the financial statements
     are not designed for those who are not informed about such matters.




                        3295 Triangle Drive S.E., Suite 200    Salem, Oregon 97302
                                 Voice 503-378-0220      Fax 503-364-1259
                                             www.fhjacpas.com
                          Case19-60138-pcm11
                               19-60230-pcm11 Doc
                                              Doc115
                                                  52 Filed                                       EXHIBIT
                                                                                                 EXHIBIT 22
                          Case                        Filed 03/25/19
                                                      Filed  02/21/19
                          Case 19-60138-pcm11 Doc 115        02/21/19
                                                                                               Page
                                                                                               Page 3
                                                                                                    3 of
                                                                                                      of 24
                                                                                                         24
    Supplementary Information


    The supplementary information contained in the schedule of operating expenses - tax basis is
    presented for purposes of additional analysis and is not a required part of the basic financial
    statements. This information is the representation of management. The information was subject to
    our compilation engagement, however, .we have not audited or reviewed the supplementary
    information and, accordingly, do not express an opinion, a conclusion, nor provide any assurance on
    such supplementary information.




              y h                ^At        ^ isC
    Fischer, Hayes, Joye & Allen, LLC
    Salem, Oregon


    February 12, 2016


i



!



J




                                               [j FISCHER, HAYES, JOYE & ALLEN, LLC
                                           if 1 1 Certified Public Accountants   CCPAT The CPA. Never UnderesEXHiBIT*2
                                                                                                       EXHIBIT 2
                        Case19-60138-pcm11
                        Case 19-60230-pcm11 ' Doc
                                              Doc115
                                                  52 Filed
                                                     Filed03/25/19
                                                           02/21/19                                  Page
                                                                                                     Page 4
                                                                                                          4 of
                                                                                                            of 24
                                                                                                               24
                               B. & J. PROPERTY INVESTMENTS, INC.
    STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS' EQUITY - TAX BASIS
                                      AS OF DECEMBER 31, 2015




                                               ASSETS
         Current assets:
         Cash                                                               $     251,064


         Property and equipment
         Rental property                                                        2,291,745
         Residential lots                                                         290,342
         Machinery and equipment                                                  127,269
         Less accumulated depreciation                                          (1,820,509)


i                                                                                 888,847
         Other assets:
          Loan fees, net of accumulated amortization of $1 ,092                    31,675
          Due from - Stockholders                                                 224,515
i         Due from - Bliven                                                          1,257
!

!         Note receivable - William Lloyd Developments, Inc.                      250,000
          Note receivable - William Lloyd Developments, Inc.                     1,487,822


!                                                                                1,995,269


         Total assets                                                       $   3,135,180


                                LIABILITIES AND STOCKHOLDERS' EQUITY
         Current Liabilities:
         Due to William Lloyd Developments, Inc.                            $     350,164
          Current portion of long-term debt                                         50,140


                                                                                  400,304


         Long-term debt, less current portion                                    2,360,599


         Other liabilities
          Deferred gain                                                           258,589


          Total liabilities                                                      3,019,492


         Stockholders' equity
          Common stock                                                               5,000
          Retained earnings                                                        110,688


          Total stockholders' equity                                               115,688


         Total liabilities and stockholders' equity                         $    3,135,180



                              See Independent Accountant's Compilation Report                   Page 2



                  Case19-60138-pcm11
                       19-60230-pcm11 Doc
                                      Doc115
                                          52 Filed                                              EXHIBIT
                                                                                                EXHIBIT 22
                  Case                        Filed 03/25/19
                                              Filed  02/21/19
                  Case 19-60138-pcm11 Doc 115        02/21/19
                                                                                              Page
                                                                                              Page 5
                                                                                                   5 of
                                                                                                     of 24
                                                                                                        24
                             B. & J. PROPERTY INVESTMENTS, INC.
        STATEMENT OF REVENUES, EXPENSES AND RETAINED EARNINGS - TAX BASIS
                          FOR THE YEAR ENDED DECEMBER 31, 2015




                                                                                  %
                                                                               of Sales


             Rental revenues                                   $   489,172      100.0%


             Operating expenses                                    134,706        27.5%


               Income from operations                              354,466        72.5%


              Other income (expense):
               Interest income                                          108        0.0%
j              Interest expense                                    (134,996)     -27.6%


              Total other income (expense)                         (134,888)     -27.6%

I
             Net income                                            219,578        44.9%


              Retained earnings, beginning                           45,460


              Stockholder distributions                            (154,350)


              Retained earnings, ending                        $    110,688



    !




                            See Independent Accountant's Compilation Report                Page 3


                      Case19-60138-pcm11
                           19-60230-pcm11 Doc
                                          Doc115
                                              52 Filed                                      EXHIBIT
                                                                                            EXHIBIT 22
                      Case                        Filed 03/25/19
                                                  Filed  02/21/19
                      Case 19-60138-pcm11 Doc 115        02/21/19
                                                                                          Page
                                                                                          Page 6
                                                                                               6 of
                                                                                                 of 24
                                                                                                    24
        Supplementary Information




Case19-60138-pcm11
     19-60230-pcm11 Doc
                    Doc115
                        52 Filed                EXHIBIT
                                                EXHIBIT 22
Case                        Filed 03/25/19
                            Filed  02/21/19
Case 19-60138-pcm11 Doc 115        02/21/19
                                              Page
                                              Page 7
                                                   7 of
                                                     of 24
                                                        24
                               B. & J. PROPERTY INVESTMENTS, INC.
                        SCHEDULE OF OPERATING EXPENSES - TAX BASIS
                            FOR THE YEAR ENDED DECEMBER 31, 2015




                                                                                   %
                                                                                 of Sales
        Operating expenses:

        Amortization                                         $   13,906                2.8%

        Auto                                                        800                0.2%

        Bad debt                                                    350                0.1%

        Bank charges                                              9,000                1.8%

        Depreciation                                             38,319                7.9%

        Insurance                                                 14,979               3.1%

        Licenses and permits                                        100                0.0%

        Miscellanous                                                 25                0.0%

        Professional fees                                          6,118               1.3%

        Property taxes                                            50,959             10.4%

        Taxes - other                                                150               0.0%


          Total operating expenses                           $   134,706             27.5%

:




    :




                               See Independent Accountant's Compilation Report                  Page 4



                         Case19-60138-pcm11
                              19-60230-pcm11 Doc
                                             Doc115
                                                 52 Filed                                       EXHIBIT
                                                                                                EXHIBIT 22
                         Case
                         Case 19-60l38-pcm11 Doc 115 Filed03/25/19
                                                           02/21/19                           Page
                                                                                              Page 8
                                                                                                   8 of
                                                                                                     of 24
                                                                                                        24
   B. & J. PROPERTY INVESTMENTS, INC.
           FINANCIAL STATEMENTS
    AND SUPPLEMENTARY INFORMATION
      AS OF AND FOR THE YEAR ENDED
              DECEMBER 31,2016
TOGETHER WITH INDEPENDENT ACCOUNTANT'S
            COMPILATION REPORT




Case19-60138-pcm11
     19-60230-pcm11 Doc
                    Doc115
                        52 Filed              EXHIBIT 2
Case                       Filed03/25/19
                                 02/21/19   Page 9 of 24
                                      TABLE OF CONTENTS




                                                                                      Page

    Independent Accountant's Compilation Report                                           1

    Statement of Assets, Liabilities, and Stockholders' Deficit- Tax Basis                3

    Statement of Revenues, Expenses, and Retained Earnings (Deficit) - Tax Basis        ..4

    Supplementary Information:

    Schedule of Operating Expenses - Tax Basis




I




                      Case19-60138-pcm11
                           19-60230-pcm11 Doc
                                          Doc115
                                              52 Filed                                EXHIBIT 2
                      Case                       Filed03/25/19
                                                       02/21/19                    Page 10 of 24
              FISCHER, HAYES, JOYE & ALLEN, LLC
              Certified Public Accountants       CPAJ The CPA. Never Underestimate the Value™



               INDEPENDENT ACCOUNTANT'S COMPILATION REPORT



To the Stockholders of
B. & J. Property Investments, Inc.
Salem, Oregon

Management is responsible for the accompanying financial statements of B. & J. Property
Investments, Inc., (an S corporation), which comprise the statement assets, liabilities, and
stockholders' deficit - tax basis as of December 31, 2016, and the related statement of revenues,
expenses, and retained earnings (deficit) - tax basis for the year then ended in accordance with the
tax basis of accounting, and for determining that the tax basis of accounting is an acceptable
financial reporting framework. We have performed a compilation engagement in accordance with
Statements on Standards for Accounting and Review Services promulgated by the Accounting and
Review Sendee Committee of the AICPA. We did not audit or review the financial statements nor
were we required to perform any procedures to verify the accuracy or completeness of the
information provided by management. Accordingly, we do not express an opinion, a conclusion,
nor provide any form of assurance on these financial statements.

The financial statements are prepared in accordance with the tax basis of accounting, which is a
basis of accounting other than accounting principles generally accepted in the United States of
America.

Management has elected to omit substantially all of the disclosures ordinarily included in financial
statements prepared in accordance with the tax basis of accounting. If the omitted disclosures were
included in the financial statements, they might influence the user's conclusions about the
Company's assets, liabilities, equity, revenues, and expenses. Accordingly, the financial statements
are not designed for those who are not informed about such matters.




                   3295 Triangle Drive S.E., Suite 200 * Salem, Oregon 97302
                            Voice 503-378-0220 «• Fax 503-364-1259
                                       www.fhjacpas.com


                       Case19-60138-pcm11
                            19-60230-pcm11 Doc
                                           Doc115
                                               52 Filed                                     EXHIBIT 2
                       Case                       Filed03/25/19
                                                        02/21/19                         Page 11 of 24
Supplementary Information

The supplementary information contained in the schedule of operating expenses - tax basis is
presented for purposes of additional analysis and is not a required part of the basic financial
statements. This information is the representation of management. The information was subject to
our compilation engagement, however, we have not audited or reviewed the supplementary
information and, accordingly, do not express an opinion, a conclusion, nor provide any assurance on
such supplementary information.




Fischer, Hayes, Joye & Allen, LLC
Salem, Oregon

March 6, 2017




                                               FISCHER, HAYES, JOYE
                                               Certified Public Accountants   gPAJ The CPA. Never Underestimate the Value™




                   Case19-60138-pcm11
                        19-60230-pcm11 Doc
                                       Doc115
                                           52 Filed                                                EXHIBIT 2
                   Case                       Filed03/25/19
                                                    02/21/19                                    Page 12 of 24
                 B. & J. PROPERTY INVESTMENTS, INC.
STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS' DEFICIT - TAX BASIS
                        AS OF DECEMBER 31, 2016


                                            ASSETS
      Current assets:
      Cash                                                              $     290,218

      Property and equipment
      Rental property                                                        2,291,745
      Machinery and equipment                                                  194,237
      Less accumulated depreciation                                         (1.905,861)

                                                                              580,121
      Other assets:
       Loan fees, net of accumulated amortization of $4,369                    28,398
       Due from - Stockholders                                                227,177
       Due from - Bliven                                                          937
       Note receivable - William Lloyd Developments, Inc.                     250,000
       Note receivable - William Lloyd Developments, Inc.                   1.487,822

                                                                            1.994.334

      Total assets                                                      $ 2,864,673

                       LIABILITIES AND STOCKHOLDERS' DEFICIT
      Current Liabilities:
      Due to William Lloyd Developments, Inc.           $    350,164
      Current portion of long-term debt                       52.709

                                                                              402,873

      Long-term debt, less current portion                                  2,308,020

      Other liabilities
      Deferred gain                                                           258,590

       Total liabilities                                                    2,969,483

      Stockholders' deficit
       Common stock                                                             5,000
       Retained deficit                                                      (109,810)

      Total stockholders' deficit                                            (104,810)

     Total liabilities and stockholders' deficit                        $ 2,864,673




                      See Independent Accountant's Compilation Report                        Page 3


              Case19-60138-pcm11
                   19-60230-pcm11 Doc
                                  Doc115
                                      52 Filed                                          EXHIBIT 2
              Case                       Filed03/25/19
                                               02/21/19                              Page 13 of 24
                B. & J. PROPERTY INVESTMENTS, INC.
STATEMENT OF REVENUES, EXPENSES AND RETAINED EARNINGS (DEFICIT)
                              TAX BASIS
              FOR THE YEAR ENDED DECEMBER 31, 2016




                                                                      of Sales

     Rental revenues                                  $    480,030     100.0%

     Operating expenses                                    314,790      65.6%

       Income from operations                              165,240      34.4%

     Other income (expense):                                             0.001
      Gain on sale of lot 11                                33,956       7.1%
      Interest income                                        2,708       0.6%
      Interest expense                                    (121,052)    -25.2%

     Total other income (expense)                          (84,388)     17.5%

     Net income                                             80,852      16.9%

     Retained earnings, beginning                          110.688

     Stockholder distributions                            (301,350)

     Retained deficit, ending                        $ (109,810)




                  See Independent Accountant's Compilation Report                Page 4




         Case19-60138-pcm11
              19-60230-pcm11 Doc
                             Doc115
                                 52 Filed                                EXHIBIT 2
         Case                       Filed03/25/19
                                          02/21/19                    Page 14 of 24
         Supplementary Information




Case19-60138-pcm11
     19-60230-pcm11 Doc
                    Doc115
                        52 Filed               EXHIBIT 2
Case                       Filed03/25/19
                                 02/21/19   Page 15 of 24
             B. & J. PROPERTY INVESTMENTS, INC.
        SCHEDULE OF OPERATING EXPENSES - TAX BASIS
           FOR THE YEAR ENDED DECEMBER 31, 2016



                                                                   of Sales
Operating expenses:

Amortization                                               3.277       0.7%
Auto                                                         599       0.1%
Depreciation                                              85,352      17.9%
Insurance                                                 14,637       3.0%
Licenses and permits                                          75       0.0%
Office supplies                                              100       0.0%
Professional fees                                        159.077      33.2%
Property taxes                                            51.523      10.7%
Taxes - other                                                150       0.0%

  Total operating expenses                           $   314,790      65.6%




                                                                               Page 5
                See Independent Accountant's Compilation Report


        Case19-60138-pcm11
             19-60230-pcm11 Doc
                            Doc115
                                52 Filed                                    EXHIBIT 2
        Case                       Filed03/25/19
                                         02/21/19                        Page 16 of 24
    B. & J. PROPERTY INVESTMENTS, INC.
          FINANCIAL STATEMENTS
    AND SUPPLEMENTARY INFORMATION
      AS OF AND FOR THE YEAR ENDED
             DECEMBER 31, 2017
TOGETHER WITH INDEPENDENT ACCOUNTANT'S
           COMPILATION REPORT




Case19-60138-pcm11
     19-60230-pcm11 Doc
                    Doc115
                        52 Filed                 EXHIBIT
                                                 EXHIBIT 22
Case                        Filed 03/25/19
                            Filed  02/21/19
Case 19-60138-pcm11 Doc 115        02/21/19
                                              Page
                                              Page 17
                                                   17 of
                                                      of 24
                                                         24
                                  TABLE OF CONTENTS




                                                                                  Page


Independent Accountant's Compilation Report                                          1


Statement of Assets, Liabilities, and Stockholders' Deficit - Tax Basis              3


Statement of Revenues, Expenses, and Retained Earnings (Deficit) - Tax Basis         4


Supplementary Information:


Schedule of Operating Expenses - Tax Basis                                           5




                  Case19-60138-pcm11
                       19-60230-pcm11 Doc
                                      Doc115
                                          52 Filed                                EXHIBIT
                                                                                  EXHIBIT 22
                  Case                        Filed 03/25/19
                                              Filed  02/21/19
                  Case 19-60138-pcm11 Doc 115        02/21/19
                                                                               Page
                                                                               Page 18
                                                                                    18 of
                                                                                       of 24
                                                                                          24
       H FISCHER, HAYES, JOYE& ALLEN, LLC
 II          Certified Public Accountants       (CPAT The CPA. Never Underestimate the Value ™




                INDEPENDENT ACCOUNTANT'S COMPILATION REPORT




To the Stockholders of
B. & J. Property Investments, Inc.
Salem, Oregon



Management is responsible for the accompanying financial statements of B. & J. Property
Investments, Inc., (an S corporation), which comprise the statement assets, liabilities, and
stockholders' deficit - tax basis as of December 31, 2017, and the related statement of revenues,
expenses, and retained earnings (deficit) - tax basis for the year then ended in accordance with the
tax basis of accounting, and for determining that the tax basis of accounting is an acceptable
financial reporting framework. We have performed a compilation engagement in accordance with
Statements on Standards for Accounting and Review Services promulgated by the Accounting and
Review Service Committee of the AICPA. We did not audit or review the financial statements nor
were we required to perform any procedures to verily the accuracy or completeness of the
information provided by management. Accordingly, we do not express an opinion, a conclusion,
nor provide any form of assurance on these financial statements.


The financial statements are prepared in accordance with the tax basis of accounting, which is a
basis of accounting other than accounting principles generally accepted in the United States of
America.


Management has elected to omit substantially all of the disclosures ordinarily included in financial
statements prepared in accordance with the tax basis of accounting. If the omitted disclosures were
included in the financial statements, they might influence the user's conclusions about the
Company's assets, liabilities, equity, revenues, and expenses. Accordingly, the financial statements
are not designed for those who are not informed about such matters.




                   3295 Triangle Drive S.E., Suite 200    Salem, Oregon 97302
                             Voice 503-378-0220      Fax 503-364-1259
                                        www.fhjacpas.com
                      Case19-60138-pcm11
                           19-60230-pcm11 Doc
                                          Doc115
                                              52 Filed                                       EXHIBIT
                                                                                             EXHIBIT 22
                      Case
                      Case 19-60138-pcm11        Filed03/25/19
                                                       02/21/19                           Page
                                                                                          Page 19
                                                                                               19 of
                                                                                                  of 24
                                                                                                     24
Supplementary Information


The supplementary information contained in the schedule of operating expenses - tax basis is
presented for purposes of additional analysis and is not a required part of the basic financial
statements. This information is the representation of management. The information was subject to
our compilation engagement, however, we have not audited or reviewed the supplementary
information and, accordingly, do not express an opinion, a conclusion, nor provide any assurance on
such supplementary information.




filter (              "fey'e-           M>
Fischer, Hayes, Joye & Allen, LLC
Salem, Oregon


May 24, 2018




                                             r| FISCHER, HAYES, JOYE & ALLEN, LLC
                                       fl      Certified Public Accountants   (CPA)" The CPA. Never Underestimate the Value ™
                                                                                                          EXHIBIT
                                                                                                          EXHIBIT 22
                      Case19-60138-pcm11
                      Case 19-60230-pcm11 Doc
                                          Doc115
                                              52 Filed
                                                 Filed03/25/19
                                                       02/21/19                                        Page
                                                                                                       Page 20
                                                                                                            20 of
                                                                                                               of 24
                      Case 19-60l38-pcm11 Doc
                                                                                                                  24
                           B. & J. PROPERTY INVESTMENTS, INC.                  .
STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS' DEFICIT - TAX BASIS
                                AS OF DECEMBER 31, 2017



                                            ASSETS
      Current assets:

       Cash                                                              $         207,923


      Property and equipment
       Rental property                                                        2,291,745
      Machinery and equipment                                                      194,237
      Less: accumulated depreciation                                         (1,952,154)


                                                                                   533,828
      Other assets:
       Loan fees, net of accumulated amortization of $7,646                         25,121
       Due from - Stockholders                                                      91,536

       Due from - B liven                                                                 937
       Notes receivable (3) - William Lloyd Developments, Inc.                1,837,822


                                                                              1,955,416


      Total assets                                                       $    2,697,167


                           LIABILITIES AND STOCKHOLDERS' DEFICIT
      Current Liabilities:
      Due to William Lloyd Developments, Inc.                            $         350,164
      Current portion of long-term debt                                             55,424


                                                                                   405,588


      Long-term debt, less current portion                                   . 2,252,450


      Other liabilities
      Deferred gain                                                                258.590
                                                                                      >



       Total liabilities                                                      2,916,628



      Stockholders' deficit
       Common stock                                                                  5,000

       Retained deficit                                                        (224,461)


       Total stockholders' deficit                                             (219,461)



      Total liabilities and stockholders' deficit                        $    2,697,167




                       See Independent Accountant's Compilation Report                               Page 3

                Case19-60138-pcm11
                     19-60230-pcm11 Doc
                                    Doc115
                                        52 Filed                                                   EXHIBIT
                                                                                                   EXHIBIT 22
                Case                        Filed 03/25/19
                                            Filed  02/21/19
                Case 19-60138-pcm11 Doc 115        02/21/19
                                                                                                Page
                                                                                                Page 21
                                                                                                     21 of
                                                                                                        of 24
                                                                                                           24
                       B. & J. PROPERTY INVESTMENTS, INC.
STATEMENT OF REVENUES, EXPENSES AND RETAINED EARNINGS (DEFICIT) -
                                    TAX BASIS
                  FOR THE YEAR ENDED DECEMBER 31, 2017




                                                                         %
                                                                      of Sales


     Rental revenues                                  $   454,155      100.0%


     Operating expenses                                   205,118       45.2%


      Income from operations                              249.037        54.8%


     Other income (expense):
      Interest income                                       11,359        2.5%
      Interest expense                                    (118,207)     -26.0%


     Total other income (expense)                         (106,848)     -23.5%


     Net income                                           142,189       31.3%


     Retained earnings, beginning                         (109,810)


     Stockholder distributions                            (256,840)


     Retained deficit, ending                         $ (224,461)




                   See Independent Accountant's Compilation Report               Page 4


             Case19-60138-pcm11
                  19-60230-pcm11 Doc
                                 Doc115
                                     52 Filed                                   EXHIBIT
                                                                                EXHIBIT 22
             Case                        Filed 03/25/19
                                         Filed  02/21/19
             Case 19-60138-pcm11 Doc 115        02/21/19
                                                                             Page
                                                                             Page 22
                                                                                  22 of
                                                                                     of 24
                                                                                        24
        Supplementary Information




Case19-60138-pcm11
     19-60230-pcm11 Doc
                    Doc115
                        52 Filed                 EXHIBIT
                                                 EXHIBIT 22
Case                        Filed 03/25/19
                            Filed  02/21/19
Case 19-60138-pcm11 Doc 115        02/21/19
                                              Page
                                              Page 23
                                                   23 of
                                                      of 24
                                                         24
                  B. & J. PROPERTY INVESTMENTS, INC.
        SCHEDULE OF OPERATING EXPENSES - TAX BASIS
            FOR THE YEAR ENDED DECEMBER 31, 2017



                                                                      %
                                                                   of Sales
Operating expenses:


Amortization                                         $     3,277        0.7%

Auto                                                         339        0.1%

Depreciation                                              46,293      10.2%

Insurance                                                 17,227       3.8%

Miscellaneous                                                274        0.1%

Office supplies                                            1,119        0.3%

Professional fees                                         82,282      18.1%

Propeity taxes                                            54,157      11.9%

Taxes - other                                                150          0.0%


  Total operating expenses                           $   205,118      45.2%




                                                                                   Page 5
                See Independent Accountant's Compilation Report
        Case19-60138-pcm11
             19-60230-pcm11 Doc
                            Doc115
                                52 Filed                                         EXHIBIT
                                                                                 EXHIBIT 22
        Case                        Filed 03/25/19
                                    Filed  02/21/19
        Case 19-60138-pcm11 Doc 115        02/21/19
                                                                              Page
                                                                              Page 24
                                                                                   24 of
                                                                                      of 24
                                                                                         24
Debtor Name
                William Berman
               _______________________________________________________
                                                                                                         19-60230-pcm11
                                                                                            Case number_____________________________________




                                                  BetterofBusiness
              >cUVOV_ 98 ?VYNYPVNW H_N_RXRY_^ SZ] LName                Management,
                                                           Controlled Non-Debtor EntityM        Inc.




Official Form 426              Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 1

                                      Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
Debtor Name    William Berman
               _______________________________________________________                                  19-60230-pcm11
                                                                                            Case number_____________________________________




                                             BetterofBusiness
              >cUVOV_ 9,/8 ;NWNYPR HURR_ SZ] LName               Management,
                                                      Controlled Non-Debtor       Inc.
                                                                            EntityM    as [of
                                                                                    N^ ZS      ]
                                                                                              12/31/2018
                                                                                           date



          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
          end of the preceding fiscal year.

          Describe the source of this information.]




Official Form 426              Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 2

                                      Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
                      +/') =9                        14AA4? 1B@7;4@@ 90;06494;A# 7;2%
                      ')&),&(.                                          1DNDPFH @KHHV
                      2DUK 1DULU                                    0U QI 3HFHOEHT *(# )'(-

                                                                                              3HF *(# (-
                                   0@@4A@
                                     2WTTHPV 0UUHVU
                                       2KHFMLPJ&@DXLPJU
                                          2KHFMLPJ B@ 1DPM                                           )"'-%$+,

                                        AQVDN 2KHFMLPJ&@DXLPJU                                       )"'-%$+,

                                     AQVDN 2WTTHPV 0UUHVU                                            )"'-%$+,

                                     5LYHG 0UUHVU
                                        0FFWOWNDVHG 3HRTHFLDVLQP                                   #--"&%%$,*
                                        9DFKLPHTZ " 4SWLROHPV                                       -("+*'$'+
                                        <IILFH 4SWLROHPV                                             )",.)$*%

                                     AQVDN 5LYHG 0UUHVU                                               ()+$%&

                                   A<A08 0@@4A@                                                      +#,),%,-

                                   8701787A74@ " 4>B7AC
                                      8LDELNLVLHU
                                         2WTTHPV 8LDELNLVLHU




Case 19-60230-pcm11
                                            <VKHT 2WTTHPV 8LDELNLVLHU
                                                ;&= $ @VQFMKQNGHTU                                '%%"%%%$%%
                                                @VDVH ADYHU =DZDENH                                   *&,$%%

                                           AQVDN <VKHT 2WTTHPV 8LDELNLVLHU                        '%%"*&,$%%




Doc 52
                                        AQVDN 2WTTHPV 8LDELNLVLHU                                 '%%"*&,$%%

                                     AQVDN 8LDELNLVLHU                                            '%%"*&,$%%

                                     4SWLVZ
                                       2QOOQP @VQFM                                                    *%%$%%
                                       ?HVDLPHG 4DTPLPJU                                          #&.,"+(($,(
                                       ;HV 7PFQOH                                                    &"')($)&

                                     AQVDN 4SWLVZ                                                 #&.*"-.%$('




Filed 03/25/19
                                   A<A08 8701787A74@ " 4>B7AC                                        +#,),%,-




                                                                                                                =DJH (
4:04 PM                        BETTER BUSINESS MANAGEMENT, INC.
02/26/19                                           Balance Sheet
Cash Basis                                        As of January 31, 2019

                                                                                       Jan 31, 19
             ASSETS
               Current Assets
                 Checking/Savings
                    Checking US Bank                                                          4,280.67

                  Total Checking/Savings                                                      4,280.67

               Total Current Assets                                                           4,280.67

               Fixed Assets
                  Accumulated Depreciation                                                   -88,100.75
                  Machinery & Equipment                                                       83,652.26
                  Office Equipment                                                             4,794.50

               Total Fixed Assets                                                               346.01

             TOTAL ASSETS                                                                     4,626.68

             LIABILITIES & EQUITY
                Liabilities
                   Current Liabilities
                      Other Current Liabilities
                          N/P - Stockholders                                                200,000.00
                          State Taxes Payable                                                   517.00

                     Total Other Current Liabilities                                        200,517.00

                  Total Current Liabilities                                                 200,517.00

               Total Liabilities                                                            200,517.00

               Equity
                 Common Stock                                                                    500.00
                 Retained Earnings                                                          -197,633.73
                 Net Income                                                                    1,243.41

               Total Equity                                                                 -195,890.32

             TOTAL LIABILITIES & EQUITY                                                       4,626.68




                                                                                                          Page 1


                           Case 19-60230-pcm11               Doc 52        Filed 03/25/19
4:04 PM                        BETTER BUSINESS MANAGEMENT, INC.
02/26/19                                           Balance Sheet
Cash Basis                                        As of January 31, 2019

                                                                                       Jan 31, 19
             ASSETS
               Current Assets
                 Checking/Savings
                    Checking US Bank                                                          4,280.67

                  Total Checking/Savings                                                      4,280.67

               Total Current Assets                                                           4,280.67

               Fixed Assets
                  Accumulated Depreciation                                                   -88,100.75
                  Machinery & Equipment                                                       83,652.26
                  Office Equipment                                                             4,794.50

               Total Fixed Assets                                                               346.01

             TOTAL ASSETS                                                                     4,626.68

             LIABILITIES & EQUITY
                Liabilities
                   Current Liabilities
                      Other Current Liabilities
                          N/P - Stockholders                                                200,000.00
                          State Taxes Payable                                                   517.00

                     Total Other Current Liabilities                                        200,517.00

                  Total Current Liabilities                                                 200,517.00

               Total Liabilities                                                            200,517.00

               Equity
                 Common Stock                                                                    500.00
                 Retained Earnings                                                          -197,633.73
                 Net Income                                                                    1,243.41

               Total Equity                                                                 -195,890.32

             TOTAL LIABILITIES & EQUITY                                                       4,626.68




                                                                                                          Page 1


                           Case 19-60230-pcm11               Doc 52        Filed 03/25/19
Debtor Name     William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,08 H_N_RXRY_ ZS AYPZXR )                     BetterofBusiness
                                                              * SZ] LName               Management,
                                                                             Controlled Non-Debtor EntityMInc. for period
                                                                                                           SZ] [R]VZQ        [date]12/31/2018
                                                                                                                          ending
                                                                                                                      RYQVYT


              [Provide a statement of income (loss) for the following periods:

               (i) For the initial report:

                  a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                     the current fiscal year; and

                  b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 3

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
                      +0'- ?<                    25BB5@ 2CA8=5AA <1=175<5=B# 8=3%
                      ')&),&(/                                      ?TRJMV " ;RUU
                      3EUL 2EUMU                              9EQWETZ VLTRWKL 4IGIPFIT )'(.

                                                                                              9EQ $ 4IG (.
                                   >THMQETZ 8QGRPI&5YSIQUI
                                     8QGRPI
                                        7TRUU 8QGRPI
                                           AVRTI                                                #(",%%$%%
                                           7TRUU 8QGRPI $ >VLIT                                 &*"(,*$%%

                                        BRVEO 7TRUU 8QGRPI                                                    &&"+,*$%%

                                        ?EZTROO
                                          A@D? ?EZTROO                                          #''"%&'$'(

                                        BRVEO ?EZTROO                                                         #''"%&'$'(

                                     BRVEO 8QGRPI                                                             #&%"((,$'(

                                     5YSIQUI
                                       2EQNMQK 6II                                                             '"'+&$-(
                                       4ISTIGMEVMRQ                                                              )%&$%%
                                       8QUWTEQGI $ ;MJI                                                        ("%%%$%%
                                       8QVITIUV 5YSIQUI                                                        ,"*%%$%%




Case 19-60230-pcm11
                                       ;IEUI ?EZPIQVU
                                          2"9 8QG                                              )+*")(,$*%

                                        BRVEO ;IEUI ?EZPIQVU                                                 )+*")(,$*%

                                        ;IKEO




Doc 52
                                          ;EXUWMV                                                ("--*$..
                                          ;IKEO $ >VLIT                                          &"+%($*%

                                        BRVEO ;IKEO                                                            *")-.$).

                                        ?EZTROO 5YSIQUIU                                                      #'*",&'$'(

                                        ?TRJJIUMRQEO 6IIU
                                          1GGRWQVMQK                                             ("*-*$%%

                                        BRVEO ?TRJJIUMRQEO 6IIU                                                ("*-*$%%




Filed 03/25/19
                                        BEYIU $ AVEVI                                                            *%%$%%

                                     BRVEO 5YSIQUI                                                           )+'")+'$*.

                                   =IV >THMQETZ 8QGRPI                                                       #),'",..$-'

                                   >VLIT 8QGRPI&5YSIQUI
                                     >VLIT 8QGRPI
                                        BTEQUJITU $ 8QVITGR                                                  )+."%%%$%%

                                     BRVEO >VLIT 8QGRPI                                                      )+."%%%$%%



                                                                                                                           ?EKI (
                      +0'- ?<                     25BB5@ 2CA8=5AA <1=175<5=B# 8=3%
                      ')&),&(/                                      ?TRJMV " ;RUU
                      3EUL 2EUMU                              9EQWETZ VLTRWKL 4IGIPFIT )'(.

                                                                                              9EQ $ 4IG (.
                                        >VLIT 5YSIQUI
                                          ?IQEOVMIU                                                              &,$%%

                                        BRVEO >VLIT 5YSIQUI                                                      &,$%%

                                     =IV >VLIT 8QGRPI                                                        )+-".-($%%

                                   =IV 8QGRPI                                                                 $*#.(,%.)




Case 19-60230-pcm11
Doc 52
Filed 03/25/19
                                                                                                                          ?EKI )
3:42 PM                                                 SRVP Store
03/22/19                                           Profit & Loss
Accrual Basis                              January through December 2018

                                                                              Jan - Dec 18
                  Ordinary Income/Expense
                       Income
                          570-50 · Deposit
                             Reimbursement                                       2,957.72
                             570-50 · Deposit - Other                               31.85

                          Total 570-50 · Deposit                                             2,989.57

                       Total Income                                                          2,989.57

                       Cost of Goods Sold
                         601-50 · Stock                                                      2,118.83

                       Total COGS                                                            2,118.83

                    Gross Profit                                                               870.74

                       Expense
                         williamlloyd dev                                                     -359.95
                         745-50 · Maintenance                                                1,378.62
                         751-50 · Misc. Exp.                                                 2,373.50
                         753-60 · Office Supply                                                761.33
                         763-50 · Supplies/Rec                                                 806.47

                       Total Expense                                                         4,959.97

                  Net Ordinary Income                                                        -4,089.23

                  Other Income/Expense
                    Other Income
                       765-50 · Transfer                                                     -5,958.70

                    Total Other Income                                                       -5,958.70

                  Net Other Income                                                           -5,958.70

                Net Income                                                              -10,047.93




                                                                                                         Page 1


                             Case 19-60230-pcm11             Doc 52   Filed 03/25/19
3:35 PM                                              SRVP/SSII
03/22/19                                           Profit & Loss
Accrual Basis                            January through December 2018

                                                                             Jan - Dec 18
                Ordinary Income/Expense
                  Income
                     Store                                                                  4,523.09
                     570-30 · SSII Gross
                        1.SSII Income                                         213,645.53
                        2.SSII NSF Chk                                           -604.00
                        3.SSII Rent Ref.                                         -682.00

                     Total 570-30 · SSII Gross                                         212,359.53

                     570-60 · Credit Cards
                       1.CC Gross                                             559,317.22

                     Total 570-60 · Credit Cards                                       559,317.22

                     570-60a · SRVP Gross
                       1.RV Income                                             233,925.08
                       2.RV Rent Ref.                                           -2,047.79
                       4.RV NSF Chk                                               -487.11
                       5.Electric Sites Bill                                  -110,571.63
                       6.Laundry Income                                         11,425.37

                     Total 570-60a · SRVP Gross                                        132,243.92

                  Total Income                                                         908,443.76

                  Expense
                    Auto Expense                                                         1,273.66
                    Depreciation                                                           669.00
                    store income                                                            31.85
                    701-60 · Payroll                                                     6,979.83
                    711-60 · Advertisements                                              3,944.14
                    719-60 · Bank Charges                                               12,065.35

                     722-60 · Cable TV                                                  37,613.21
                     744 · Lease                                                        -6,625.00

                     745-60 · Maintenence                                                   8,761.48
                     751-60 · Misc. Exp.                                                    1,217.95
                     753-60 · Office Supply                                                 3,495.86
                     757-60 · Professional Fees
                       Application Screening                                    1,580.00
                       757-60 · Professional Fees - Other                       2,582.00

                     Total 757-60 · Professional Fees                                       4,162.00

                     763-60 · Recreation                                                    1,452.20
                     765-60 · Telephone                                                     2,226.52



                                                                                                       Page 1


                          Case 19-60230-pcm11               Doc 52   Filed 03/25/19
3:35 PM                                             SRVP/SSII
03/22/19                                          Profit & Loss
Accrual Basis                               January through December 2018

                                                                            Jan - Dec 18
                       782-60 · Utilities
                         Electric Base                                         7,242.65
                         Garbage Svc.                                         28,152.32
                         Nat. Gas                                              3,956.08
                         Water Sewer                                          33,557.18

                       Total 782-60 · Utilities                                        72,908.23

                       790-60 · Licensing                                                  1,099.00

                    Total Expense                                                     151,275.28

                  Net Ordinary Income                                                 757,168.48

                  Other Income/Expense
                    Other Income
                       Transfer                                                      -758,225.16

                    Total Other Income                                               -758,225.16

                  Net Other Income                                                   -758,225.16

                Net Income                                                                 -1,056.68




                                                                                                       Page 2


                             Case 19-60230-pcm11           Doc 52   Filed 03/25/19
3:18 PM                         BETTER BUSINESS MGMT P C A
03/22/19                                       Profit & Loss
Cash Basis                          January through December 2018

                                                                     Jan - Dec 18
             Ordinary Income/Expense
               Income
                  MISC. INCOME                                                            902.00
                  Payroll Deposits                                                    -19,118.87

               Total Income                                                           -18,216.87

               Expense
                 Accounting Fees                                                        1,445.00
                 AUTO                                                                   1,521.09
                 Dues and Subscriptions                                                   240.00
                 Employee Benefits                                                        625.21
                 Insurance - General                                                    1,255.40
                 Insurance - Medical                                                   34,660.85
                 Insurance - Workers Comp                                               1,708.83
                 Loan Berman                                                                0.00
                 MAINT.                                                                     0.00
                 MISC.                                                                    438.00
                 Office Supplies                                                        1,359.93
                 Payroll Expenses
                    1Wages & Salaries
                       Payroll - Officer                           69,700.00
                       Staff Wages                                152,556.75

                    Total 1Wages & Salaries                                222,256.75

                    Payroll Taxes
                      Medicare Expense - Company                         0.00
                      Payroll Taxes - Other                         20,865.73

                    Total Payroll Taxes                                     20,865.73

                    Payroll Expenses - Other                                    8,006.48

                  Total Payroll Expenses                                              251,128.96

                  Pension Plan Expense                                                     4,963.60
                  Telephone                                                                4,556.54

               Total Expense                                                          303,903.41

             Net Ordinary Income                                                     -322,120.28




                                                                                                      Page 1


                      Case 19-60230-pcm11             Doc 52   Filed 03/25/19
3:18 PM                            BETTER BUSINESS MGMT P C A
03/22/19                                        Profit & Loss
Cash Basis                                January through December 2018

                                                                          Jan - Dec 18
               Other Income/Expense
                 Other Income
                    Transfers - Interco                                                  295,183.86

                  Total Other Income                                                     295,183.86

               Net Other Income                                                          295,183.86

             Net Income                                                                  -26,936.42




                                                                                                      Page 2


                          Case 19-60230-pcm11            Doc 52   Filed 03/25/19
3:16 PM                     BETTER BUSINESS MANAGEMENT, INC.
03/22/19                                   Profit & Loss
Cash Basis                                  January 2019

                                                                    Jan 19
               Ordinary Income/Expense
                 Income
                    Gross Income                                               36,500.00

                  Total Income                                                 36,500.00

                  Expense
                    Banking Fee                                                  167.48
                    Insurance - Life                                             250.00
                    Lease Payments
                       B&J Inc                                     35,750.00

                    Total Lease Payments                                       35,750.00

                  Total Expense                                                36,167.48

               Net Ordinary Income                                               332.52

             Net Income                                                          332.52




                                                                                           Page 1


                          Case 19-60230-pcm11     Doc 52   Filed 03/25/19
3:43 PM                                                 SRVP Store
03/22/19                                           Profit & Loss
Accrual Basis                                           January 2019

                                                                                   Jan 19
                  Ordinary Income/Expense
                       Income
                          570-50 · Deposit
                             Reimbursement                                          632.12
                             570-50 · Deposit - Other                               324.20

                          Total 570-50 · Deposit                                             956.32

                       Total Income                                                          956.32

                       Cost of Goods Sold
                         601-50 · Stock                                                      151.46

                       Total COGS                                                            151.46

                    Gross Profit                                                             804.86

                       Expense
                         williamlloyd dev                                                      0.00
                         745-50 · Maintenance                                                193.05
                         751-50 · Misc. Exp.                                                 165.00
                         753-60 · Office Supply                                               93.13
                         763-50 · Supplies/Rec                                                90.10

                       Total Expense                                                         541.28

                  Net Ordinary Income                                                        263.58

                Net Income                                                                   263.58




                                                                                                      Page 1


                             Case 19-60230-pcm11              Doc 52   Filed 03/25/19
3:37 PM                                              SRVP/SSII
03/22/19                                           Profit & Loss
Accrual Basis                                       January 2019

                                                                             Jan 19
                Ordinary Income/Expense
                  Income
                     Store                                                                324.20
                     570-30 · SSII Gross
                        1.SSII Income                                        17,619.75

                     Total 570-30 · SSII Gross                                        17,619.75

                     570-60 · Credit Cards
                       1.CC Gross                                            49,761.90

                     Total 570-60 · Credit Cards                                      49,761.90

                     570-60a · SRVP Gross
                       1.RV Income                                           18,306.78
                       2.RV Rent Ref.                                          -603.76
                       5.Electric Sites Bill                                -11,081.51
                       6.Laundry Income                                         941.50

                     Total 570-60a · SRVP Gross                                          7,563.01

                  Total Income                                                        75,268.86

                  Expense
                    Auto Expense                                                           0.00
                    store income                                                         324.20
                    701-60 · Payroll                                                  26,026.29
                    711-60 · Advertisements                                              297.60
                    719-60 · Bank Charges                                                989.39

                     722-60 · Cable TV                                                 3,194.05
                     744 · Lease                                                      36,500.00

                     745-60 · Maintenence                                                 616.87
                     751-60 · Misc. Exp.                                                    0.00
                     753-60 · Office Supply                                               101.31
                     757-60 · Professional Fees
                       Application Screening                                    80.00

                     Total 757-60 · Professional Fees                                      80.00

                     763-60 · Recreation                                                   90.10
                     765-60 · Telephone                                                   188.18




                                                                                                    Page 1


                          Case 19-60230-pcm11             Doc 52   Filed 03/25/19
3:37 PM                                             SRVP/SSII
03/22/19                                          Profit & Loss
Accrual Basis                                      January 2019

                                                                            Jan 19
                       782-60 · Utilities
                         Electric Base                                         536.38
                         Garbage Svc.                                        2,317.86
                         Nat. Gas                                              529.79
                         Water Sewer                                         2,631.62

                       Total 782-60 · Utilities                                         6,015.65

                    Total Expense                                                    74,423.64

                  Net Ordinary Income                                                    845.22

                Net Income                                                               845.22




                                                                                                   Page 2


                             Case 19-60230-pcm11         Doc 52   Filed 03/25/19
3:20 PM                           BETTER BUSINESS MGMT P C A
03/22/19                                         Profit & Loss
Cash Basis                                        January 2019

                                                                           Jan 19
               Ordinary Income/Expense
                 Income
                    Payroll Deposits                                                 50,224.99

                 Total Income                                                        50,224.99

                 Expense
                   Accounting Fees                                                      250.00
                   AUTO                                                                 110.57
                   Employee Benefits                                                      0.00
                   Insurance - General                                                    0.00
                   Insurance - Medical                                                3,011.80
                   Insurance - Workers Comp                                             492.08
                   MAINT.                                                                 0.00
                   MISC.                                                                165.00
                   Office Supplies                                                      105.00
                   Payroll Expenses
                      Payroll Taxes
                         Medicare Expense - Company                        0.00

                      Total Payroll Taxes                                           0.00

                      Payroll Expenses - Other                               19,546.02

                    Total Payroll Expenses                                           19,546.02

                    Pension Plan Expense                                              1,264.00
                    Telephone                                                           423.95

                 Total Expense                                                       25,368.42

               Net Ordinary Income                                                   24,856.57

             Net Income                                                              24,856.57




                                                                                                 Page 1


                          Case 19-60230-pcm11           Doc 52   Filed 03/25/19
Debtor Name      William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,18 H_N_RXRY_ ZS <N^U ?WZb^ SZ] Better
                                                       LName ofBusiness     Management,
                                                                Controlled Non-Debtor          Inc.[R]VZQ
                                                                                      Entity] SZ]   for period
                                                                                                          RYQVYTending:
                                                                                                                 LdateM             n/a

              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 4

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
3:28 PM                    BETTER BUSINESS MANAGEMENT, INC.
03/22/19                            Statement of Cash Flows
                                      January through December 2018

                                                                                 Jan - Dec 18
                OPERATING ACTIVITIES
                  Net Income                                                           -4,399.34

                Net cash provided by Operating Activities                              -4,399.34

                INVESTING ACTIVITIES
                   Accumulated Depreciation                                               401.00

                Net cash provided by Investing Activities                                 401.00

             Net cash increase for period                                              -3,998.34

             Cash at beginning of period                                                7,696.49

           Cash at end of period                                                        3,698.15




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
3:44 PM                                          SRVP Store
03/22/19                            Statement of Cash Flows
                                      January through December 2018

                                                                                 Jan - Dec 18
                OPERATING ACTIVITIES
                  Net Income                                                          -10,047.93

                Net cash provided by Operating Activities                             -10,047.93

                INVESTING ACTIVITIES
                   257 · Transfer to BBM                                               10,450.00

                Net cash provided by Investing Activities                              10,450.00

             Net cash increase for period                                                 402.07

             Cash at beginning of period                                                2,250.74

           Cash at end of period                                                        2,652.81




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
3:39 PM                                           SRVP/SSII
03/22/19                            Statement of Cash Flows
                                      January through December 2018

                                                                                 Jan - Dec 18
                OPERATING ACTIVITIES
                  Net Income                                                           -1,056.68

                Net cash provided by Operating Activities                              -1,056.68

                INVESTING ACTIVITIES
                   Accumulated Depreciation                                               669.00

                Net cash provided by Investing Activities                                 669.00

             Net cash increase for period                                                -387.68

             Cash at beginning of period                                                  911.78

           Cash at end of period                                                          524.10




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
3:22 PM                            BETTER BUSINESS MGMT P C A
03/22/19                            Statement of Cash Flows
                                     January through December 2018

                                                                                 Jan - Dec 18
                OPERATING ACTIVITIES
                  Net Income                                                          -26,936.42
                  Adjustments to reconcile Net Income
                  to net cash provided by operations:
                     Employee Advances                                                    350.00
                     Accrued Payroll                                                    3,691.22
                     Due to SRVP Store                                                 -6,750.00
                     Payroll Taxes Payabale                                               253.56
                     Pension Contribution Payable                                         114.00

                Net cash provided by Operating Activities                             -29,277.64

             Net cash increase for period                                             -29,277.64

             Cash at beginning of period                                               33,602.71

           Cash at end of period                                                        4,325.07




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
3:16 PM                     BETTER BUSINESS MANAGEMENT, INC.
03/22/19                                   Profit & Loss
Cash Basis                                  January 2019

                                                                    Jan 19
               Ordinary Income/Expense
                 Income
                    Gross Income                                               36,500.00

                  Total Income                                                 36,500.00

                  Expense
                    Banking Fee                                                  167.48
                    Insurance - Life                                             250.00
                    Lease Payments
                       B&J Inc                                     35,750.00

                    Total Lease Payments                                       35,750.00

                  Total Expense                                                36,167.48

               Net Ordinary Income                                               332.52

             Net Income                                                          332.52




                                                                                           Page 1


                          Case 19-60230-pcm11     Doc 52   Filed 03/25/19
3:46 PM                                         SRVP Store
03/22/19                            Statement of Cash Flows
                                                 January 2019

                                                                                      Jan 19
                OPERATING ACTIVITIES
                  Net Income                                                             263.58

                Net cash provided by Operating Activities                                263.58

             Net cash increase for period                                                263.58

             Cash at beginning of period                                               2,652.81

           Cash at end of period                                                       2,916.39




                                                                                                  Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
3:40 PM                                           SRVP/SSII
03/22/19                            Statement of Cash Flows
                                                 January 2019

                                                                                      Jan 19
                OPERATING ACTIVITIES
                  Net Income                                                             845.22

                Net cash provided by Operating Activities                                845.22

             Net cash increase for period                                                845.22

             Cash at beginning of period                                                 524.10

           Cash at end of period                                                       1,369.32




                                                                                                  Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
3:23 PM                            BETTER BUSINESS MGMT P C A
03/22/19                            Statement of Cash Flows
                                                 January 2019

                                                                                      Jan 19
                OPERATING ACTIVITIES
                  Net Income                                                           24,856.57

                Net cash provided by Operating Activities                              24,856.57

             Net cash increase for period                                              24,856.57

             Cash at beginning of period                                                4,325.07

           Cash at end of period                                                       29,181.64




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
Debtor Name      William Berman
               _______________________________________________________                                      19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,28 D[J[NTNU[ VO 7QJUPNZ RU DQJYNQVSMNYZa)BJY[UNYZa 9X\R[` %                        * SZ] Better
                                                                                                                 LName ofBusiness
                                                                                                                          Controlled Management,
                                                                                                                                     Non-Debtor EntityM
                                                                                                                                                     Inc.
                                [date]
              SZ] [R]VZQ RYQVYT n/a


              C=VSZNIJ F WXFXJQJRX SK HMFRLJW NR WMFVJMSPIJVW_)TFVXRJVW JUYNX] $deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




                        Attached.




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 5

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
4:06 PM                            BETTER BUSINESS MANAGEMENT, INC.
02/26/19                       Balance Sheet Prev Year Comparison
Cash Basis                                        As of December 31, 2018

                                                         Dec 31, 18    Dec 31, 17    $ Change     % Change
             ASSETS
               Current Assets
                 Checking/Savings
                    Checking US Bank                        4,280.67     7,696.49     -3,415.82      -44.4%

                  Total Checking/Savings                    4,280.67     7,696.49     -3,415.82      -44.4%

               Total Current Assets                         4,280.67     7,696.49     -3,415.82      -44.4%

               Fixed Assets
                  Accumulated Depreciation                -88,100.75    -87,699.75      -401.00       -0.5%
                  Machinery & Equipment                    83,652.26     83,652.26         0.00        0.0%
                  Office Equipment                          4,794.50      4,794.50         0.00        0.0%

               Total Fixed Assets                            346.01        747.01       -401.00      -53.7%

             TOTAL ASSETS                                   4,626.68     8,443.50     -3,816.82      -45.2%

             LIABILITIES & EQUITY
                Liabilities
                   Current Liabilities
                      Other Current Liabilities
                          N/P - Stockholders              200,000.00   200,000.00         0.00         0.0%
                          State Taxes Payable                 517.00       517.00         0.00         0.0%

                     Total Other Current Liabilities      200,517.00   200,517.00         0.00         0.0%

                  Total Current Liabilities               200,517.00   200,517.00         0.00         0.0%

               Total Liabilities                          200,517.00   200,517.00         0.00         0.0%

               Equity
                 Common Stock                                 500.00        500.00         0.00        0.0%
                 Retained Earnings                       -197,633.73   -193,860.93    -3,772.80       -2.0%
                 Net Income                                 1,243.41      1,287.43       -44.02       -3.4%

               Total Equity                              -195,890.32   -192,073.50    -3,816.82       -2.0%

             TOTAL LIABILITIES & EQUITY                     4,626.68     8,443.50     -3,816.82      -45.2%




                                                                                                              Page 1


                              Case 19-60230-pcm11              Doc 52      Filed 03/25/19
Debtor Name
                William Berman
               _______________________________________________________
                                                                                                         19-60230-pcm11
                                                                                            Case number_____________________________________




                                                  William
              >cUVOV_ 98 ?VYNYPVNW H_N_RXRY_^ SZ] LName    Lloyd Developments,
                                                        of Controlled Non-Debtor EntityM Inc.




Official Form 426              Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 1

                                      Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
Debtor Name    William Berman
               _______________________________________________________                                  19-60230-pcm11
                                                                                            Case number_____________________________________




                                             William
              >cUVOV_ 9,/8 ;NWNYPR HURR_ SZ] LName    Lloyd Developments,
                                                   of Controlled                Inc.
                                                                 Non-Debtor EntityM N^as  [date
                                                                                       ZS of   ]
                                                                                             12/31/2018


          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
          end of the preceding fiscal year.

          Describe the source of this information.]



         Source of Information: Books and records maintained by William Lloyd Developments, Inc.




Official Form 426              Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 2

                                      Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
                      -2,* B?                                               HRUUJRV>UXaM <WL
                      )+(+/(*1                                              4JUJWLN EQNN]
                      3LL[^JU 4J\R\                                       3\ XO 6NLNVKN[ ,*% +)*0

                                                                                                    6NL ,*% *0
                                      3EE7FE
                                        5^[[NW] 3\\N]\
                                          5QNLTRWP(EJ_RWP\
                                             5QNLTRWP 3LLX^W]                                            )'"-))$.)

                                            FX]JU 5QNLTRWP(EJ_RWP\                                       )'"-))$.)

                                            A]QN[ 5^[[NW] 3\\N]\
                                              6^N 8[XV 4 " =                                            (*%"&+)$%+
                                              FNM\ ;X^\N H<B                                             '-"+%*$*-
                                              HX[T <W B[XP[N\\ & >X] +.))                             &"%()"*.*$)+

                                            FX]JU A]QN[ 5^[[NW] 3\\N]\                                &")&("(+*$&%

                                         FX]JU 5^[[NW] 3\\N]\                                         &")*+"'&%$%)

                                         8R`NM 3\\N]\
                                            <UUJQN FX[a BRWN\ >X]                                       (.'"&'-$,*
                                            >JWM & >X] +.)) #GWMN[ 6N_NUXYV                             )+,"-&*$+*
                                            >JWM & UX] +.)) #GWMN_NUXYNM$                               ')&"-,*$%%




Case 19-60230-pcm11
                                         FX]JU 8R`NM 3\\N]\                                           &"&%&"-&.$)%

                                      FAF3> 3EE7FE                                                    +%..0%)+1'--

                                      ><34<><F<7E " 7CG<FI
                                         >RJKRUR]RN\




Doc 52
                                            5^[[NW] >RJKRUR]RN\
                                               A]QN[ 5^[[NW] >RJKRUR]RN\
                                                   @(B & 4 " = #FX[a BRWN\ B[XS$                        &%%"%%%$%%

                                               FX]JU A]QN[ 5^[[NW] >RJKRUR]RN\                          &%%"%%%$%%

                                            FX]JU 5^[[NW] >RJKRUR]RN\                                   &%%"%%%$%%

                                            >XWP FN[V >RJKRUR]RN\
                                              @B & 4 " = B[XYN[]a <W_N\]VNW]\                           '*%"%%%$%%




Filed 03/25/19
                                              @B & 4N[VJW                                               &-&"'(*$*+
                                              @B & >UXaM\ XO 9X_N[WVNW] 5JVY%                           '*%"%%%$%%
                                              @B 4 " = B[XYN[]a <W_ #GE 4JWT$                         &")-,"-''$%%

                                            FX]JU >XWP FN[V >RJKRUR]RN\                               '"&+."%*,$*+

                                         FX]JU >RJKRUR]RN\                                            '"'+."%*,$*+




                                                                                                                     BJPN *
                      -2,* B?                                            HRUUJRV>UXaM <WL
                      )+(+/(*1                                           4JUJWLN EQNN]
                      3LL[^JU 4J\R\                                    3\ XO 6NLNVKN[ ,*% +)*0

                                                                                                 6NL ,*% *0
                                        7Z^R]a
                                          3MMR]RXWJU BJRM RW 5JYR]JU                                 &).",*+$&)
                                          5XVVXW E]XLT                                                 &"%%%$%%
                                          DN]JRWNM 7J[WRWP\                                          &,,",(,$+'
                                          EQJ[NQXUMN[ 6R\][RK^]RXW\                                  #'%"++&$.%
                                          @N] <WLXVN                                                 #&-"-*.$.-

                                        FX]JU 7Z^R]a                                                 '--".,&$--

                                      FAF3> ><34<><F<7E " 7CG<FI                                   +%..0%)+1'--




Case 19-60230-pcm11
Doc 52
Filed 03/25/19
                                                                                                                  BJPN +
4:34 PM                                              WillaimLloyd Inc
02/26/19                                             Balance Sheet
Accrual Basis                                       As of January 31, 2019

                                                                                         Jan 31, 19
                ASSETS
                  Current Assets
                    Checking/Savings
                       Checking Account                                                         40,832.55

                      Total Checking/Savings                                                    40,832.55

                      Other Current Assets
                        Due From B & J                                                          350,164.06
                        Teds House WIP                                                           28,605.58
                        Work In Progress - Lot 2500                                           1,034,595.46

                      Total Other Current Assets                                              1,413,365.10

                   Total Current Assets                                                       1,454,197.65

                   Fixed Assets
                      Illahe Tory Pines Lot                                                    392,128.75
                      Land - Lot 2500 (Under Developm                                          467,815.65
                      Land - lot 2500 (Undeveloped)                                            241,875.00

                   Total Fixed Assets                                                         1,101,819.40

                TOTAL ASSETS                                                                  2,556,017.05

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Other Current Liabilities
                             N/P - B & J (Tory Pines Proj)                                     100,000.00

                         Total Other Current Liabilities                                       100,000.00

                      Total Current Liabilities                                                100,000.00

                      Long Term Liabilities
                        NP - B & J Property Investments                                         250,000.00
                        NP - Berman                                                             181,235.56
                        NP - Lloyds of Government Camp,                                         250,000.00
                        NP B & J Property Inv (US Bank)                                       1,487,822.00

                      Total Long Term Liabilities                                             2,169,057.56

                   Total Liabilities                                                          2,269,057.56




                                                                                                             Page 1


                              Case 19-60230-pcm11              Doc 52        Filed 03/25/19
4:34 PM                                           WillaimLloyd Inc
02/26/19                                          Balance Sheet
Accrual Basis                                    As of January 31, 2019

                                                                                      Jan 31, 19
                  Equity
                    Additional Paid in Capital                                              149,756.14
                    Common Stock                                                              1,000.00
                    Retained Earnings                                                       158,877.64
                    Shareholder Distributions                                               -20,661.90
                    Net Income                                                               -2,012.39

                  Total Equity                                                              286,959.49

                TOTAL LIABILITIES & EQUITY                                                 2,556,017.05




                                                                                                          Page 2


                            Case 19-60230-pcm11             Doc 52        Filed 03/25/19
Debtor Name     William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,08 H_N_RXRY_ ZS AYPZXR )              * SZ] William  Lloyd Developments,
                                                                    LName of Controlled                Inc.
                                                                                        Non-Debtor EntityM   for
                                                                                                           SZ]   period
                                                                                                               [R]VZQ        [date12/31/2018
                                                                                                                        ending
                                                                                                                      RYQVYT       ]

              [Provide a statement of income (loss) for the following periods:

               (i) For the initial report:

                  a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                     the current fiscal year; and

                  b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]

          Source of Information: Books and records maintained by William Lloyd Developments, Inc.




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 3

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
                      +1*/ A>                                         ENPPFNQ=PS\I ;RH
                      ')&)-&(0                                        AUSKNW " =SVV
                      2HHUXFP 3FVNV                             <FRXFU\ WMUSXLM 5JHJQGJU )'(/

                                                                                                <FR $ 5JH (/
                                        @UINRFU\ ;RHSQJ&6[TJRVJ
                                             ;RHSQJ
                                                =SFRV 7USQ
                                                   DJUPJHON                                      &%%"%%%$%%

                                                DSWFP =SFRV 7USQ                                               &%%"%%%$%%

                                                =SW CFPJV                                                      '+%"(-+$+,
                                                BJNQGXUVJQJRW                                                    '"%&+$)'

                                             DSWFP ;RHSQJ                                                      (+'")%($%.

                                           8USVV AUSKNW                                                        (+'")%($%.

                                             6[TJRVJ
                                               *,*0 DSUUJ\ANRJV                                            #*''"%''$-'
                                               *,+0 DSUUJ\ANRJV                                             )*%"&,'$'.
                                               -''. (/WM IU                                                   ,"')%$%'
                                               3FRO CJUYNHJ 4MFULJV                                              ,%$%%
                                               ;RVXUFRHJ 6[TJRVJ                                              *"-+&$&&
                                                                                                              (",&($)%




Case 19-60230-pcm11
                                               <XUFR 9SXVJ
                                               =JLFP " AUSKJVVNSRFP 7JJV                                      '"&+.$%%
                                               =SW ),''                                                       +"))+$*,
                                               =SW *                                                        '&,"&*,$++
                                               >NVHJPPFRJSXV 6[TJRVJ                                            &*&$%'
                                               AF\USPP 6[TJRVJV                                             '%-".,-$,+




Doc 52
                                               AUSKJVVNSRFP 7JJV                                                '%%$%%
                                               WF[JV ;RHSQJ                                                     &*%$%%
                                               WSSPV                                                            -)*$)+
                                               D\USPJFR QJFISZV 9@2                                             &(%$+%

                                             DSWFP 6[TJRVJ                                                     (-&"'+($%,

                                        ?JW @UINRFU\ ;RHSQJ                                                    #&-"-*.$.-

                                      ?JW ;RHSQJ                                                               $(/#/,0%0/




Filed 03/25/19
                                                                                                                            AFLJ (
4:36 PM                                       WillaimLloyd Inc
02/26/19                                          Profit & Loss
Accrual Basis                                      January 2019

                                                                               Jan 19
                  Ordinary Income/Expense
                       Expense
                          3539 TorreyPines                                               0.00
                          3549 TorreyPines                                          13,715.13
                          Insurance Expense                                          1,610.20
                          Juran House                                              -13,312.94
                          Lot 2500                                                       0.00
                          Lot 3                                                          0.00
                          Miscellaneous Expense                                          0.00
                          tools                                                          0.00
                          Tyrolean meadows HOA                                           0.00

                       Total Expense                                                2,012.39

                  Net Ordinary Income                                               -2,012.39

                Net Income                                                          -2,012.39




                                                                                                Page 1


                             Case 19-60230-pcm11         Doc 52   Filed 03/25/19
Debtor Name      William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,18 H_N_RXRY_ ZS <N^U ?WZb^ SZ] William  Lloyd Developments,
                                                       LName of Controlled Non-Debtor Entity]Inc.  for period
                                                                                              SZ] [R]VZQ      ending:
                                                                                                         RYQVYT LdateM             n/a

              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




                       Attached.




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 4

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
11:13 AM                                     WillaimLloyd Inc
03/25/19                            Statement of Cash Flows
                                     January through December 2018

                                                                                 Jan - Dec 18
                OPERATING ACTIVITIES
                  Net Income                                                          -18,879.98

                Net cash provided by Operating Activities                             -18,879.98

             Net cash increase for period                                             -18,879.98

             Cash at beginning of period                                               61,704.92

           Cash at end of period                                                       42,824.94




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
11:13 AM                                     WillaimLloyd Inc
03/25/19                            Statement of Cash Flows
                                                 January 2019

                                                                                      Jan 19
                OPERATING ACTIVITIES
                  Net Income                                                           -2,012.39

                Net cash provided by Operating Activities                              -2,012.39

             Net cash increase for period                                              -2,012.39

             Cash at beginning of period                                               42,824.94

           Cash at end of period                                                       40,812.55




                                                                                                   Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
Debtor Name      William Berman
               _______________________________________________________                                      19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,28 D[J[NTNU[ VO 7QJUPNZ RU DQJYNQVSMNYZa)BJY[UNYZa 9X\R[` %                        * SZ] William
                                                                                                                 LName of Controlled Non-Debtor EntityM
                                                                                                                          Lloyd Developments,       Inc.
                                [date]
              SZ] [R]VZQ RYQVYT n/a


              C=VSZNIJ F WXFXJQJRX SK HMFRLJW NR WMFVJMSPIJVW_)TFVXRJVW JUYNX] $deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




                        Attached.




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 5

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
4:35 PM                                                        WillaimLloyd Inc
02/26/19                                Balance Sheet Prev Year Comparison
Accrual Basis                                                As of December 31, 2018

                                                                    Dec 31, 18     Dec 31, 17     $ Change      % Change
                ASSETS
                  Current Assets
                    Checking/Savings
                       Checking Account                               42,844.94      61,704.92     -18,859.98      -30.6%

                      Total Checking/Savings                          42,844.94      61,704.92     -18,859.98      -30.6%

                      Other Current Assets
                        Due From B & J                                350,164.06     350,164.06         0.00         0.0%
                        Teds House WIP                                 28,605.58      28,605.58         0.00         0.0%
                        Work In Progress - Lot 2500                 1,034,595.46   1,034,595.46         0.00         0.0%

                      Total Other Current Assets                    1,413,365.10   1,413,365.10         0.00         0.0%

                   Total Current Assets                             1,456,210.04   1,475,070.02    -18,859.98       -1.3%

                   Fixed Assets
                      Illahe Tory Pines Lot                          392,128.75     392,128.75          0.00         0.0%
                      Land - Lot 2500 (Under Developm                467,815.65     467,815.65          0.00         0.0%
                      Land - lot 2500 (Undeveloped)                  241,875.00     241,875.00          0.00         0.0%

                   Total Fixed Assets                               1,101,819.40   1,101,819.40         0.00         0.0%

                TOTAL ASSETS                                        2,558,029.44   2,576,889.42    -18,859.98       -0.7%

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Other Current Liabilities
                             N/P - B & J (Tory Pines Proj)           100,000.00     100,000.00          0.00         0.0%

                         Total Other Current Liabilities             100,000.00     100,000.00          0.00         0.0%

                      Total Current Liabilities                      100,000.00     100,000.00          0.00         0.0%

                      Long Term Liabilities
                        NP - B & J Property Investments               250,000.00     250,000.00         0.00         0.0%
                        NP - Berman                                   181,235.56     181,235.56         0.00         0.0%
                        NP - Lloyds of Government Camp,               250,000.00     250,000.00         0.00         0.0%
                        NP B & J Property Inv (US Bank)             1,487,822.00   1,487,822.00         0.00         0.0%

                      Total Long Term Liabilities                   2,169,057.56   2,169,057.56         0.00         0.0%

                   Total Liabilities                                2,269,057.56   2,269,057.56         0.00         0.0%




                                                                                                                            Page 1


                                       Case 19-60230-pcm11                Doc 52      Filed 03/25/19
4:35 PM                                            WillaimLloyd Inc
02/26/19                            Balance Sheet Prev Year Comparison
Accrual Basis                                    As of December 31, 2018

                                                        Dec 31, 18     Dec 31, 17     $ Change      % Change
                  Equity
                    Additional Paid in Capital           149,756.14     149,756.14           0.00        0.0%
                    Common Stock                           1,000.00       1,000.00           0.00        0.0%
                    Retained Earnings                    177,737.62     195,105.95     -17,368.33       -8.9%
                    Shareholder Distributions            -20,661.90     -20,661.90           0.00        0.0%
                    Net Income                           -18,859.98     -17,368.33      -1,491.65       -8.6%

                  Total Equity                           288,971.88     307,831.86     -18,859.98       -6.1%

                TOTAL LIABILITIES & EQUITY              2,558,029.44   2,576,889.42    -18,859.98       -0.7%




                                                                                                                Page 2


                                   Case 19-60230-pcm11        Doc 52      Filed 03/25/19
Debtor Name
                William Berman
               _______________________________________________________
                                                                                                         19-60230-pcm11
                                                                                            Case number_____________________________________




                                                  J. B. &of B.
              >cUVOV_ 98 ?VYNYPVNW H_N_RXRY_^ SZ] LName        Investment
                                                            Controlled       Group,
                                                                       Non-Debtor EntityMLLC




Official Form 426              Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 1

                                      Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
Debtor Name    William Berman
               _______________________________________________________                                  19-60230-pcm11
                                                                                            Case number_____________________________________




                                             J. B. &ofB.
              >cUVOV_ 9,/8 ;NWNYPR HURR_ SZ] LName       Investment
                                                      Controlled      Group
                                                                 Non-Debtor   as of
                                                                            EntityM    ZS [date]
                                                                                    N^12/31/2018



          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
          end of the preceding fiscal year.

          Describe the source of this information.]



         Source of Information: Books and records maintained by J. B. & B. Investment Group, LLC




Official Form 426              Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 2

                                      Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
                      *0(( >;                                    82"2 7QYIVWPIQW 6URXS 993
                      &(%(,%'/                                             2EOEQGI ALIIW
                      1GGUXEO 2EVMV                                    1V RJ 4IGIPFIU )'# (&'.

                                                                                                 4IG )'# '.
                                      1AA5BA
                                        3XUUIQW 1VVIWV
                                          3LIGNMQK%AEYMQKV
                                             3LIGNMQK CA 2EQN                                           )"-+($&'

                                           BRWEO 3LIGNMQK%AEYMQKV                                       )"-+($&'

                                        BRWEO 3XUUIQW 1VVIWV                                            )"-+($&'

                                      B=B19 1AA5BA                                                      +#/-*$()

                                      9712797B75A " 5?C7BD
                                         9MEFMOMWMIV
                                            3XUUIQW 9MEFMOMWMIV
                                               =WLIU 3XUUIQW 9MEFMOMWMIV
                                                   3UIHMW 9MQI                                         ')"%%%$%%
                                                   3UIHMW OMQI CA 2EQN                                #')"%%%$%%

                                              BRWEO =WLIU 3XUUIQW 9MEFMOMWMIV                                 %$%%

                                           BRWEO 3XUUIQW 9MEFMOMWMIV                                          %$%%




Case 19-60230-pcm11
                                        BRWEO 9MEFMOMWMIV                                                     %$%%

                                        5TXMWZ
                                          3=<B@72CB54 31>7B19                                               %$%&
                                          4MVWUMFXWMRQ                                               #-&*"%('$%%




Doc 52
                                          @IWEMQIH 5EUQMQKV                                           ))&"(%,$,+
                                          <IW 7QGRPI                                                  '+-"*%,$'(

                                        BRWEO 5TXMWZ                                                    )"-+($&'

                                      B=B19 9712797B75A " 5?C7BD                                        +#/-*$()




Filed 03/25/19
                                                                                                                     >EKI '
4:22 PM                                    JB&B Investment Group LLC
02/26/19                                              Balance Sheet
Accrual Basis                                        As of January 31, 2019

                                                                                          Jan 31, 19
                ASSETS
                  Current Assets
                    Checking/Savings
                       Checking US Bank                                                          5,974.23

                     Total Checking/Savings                                                      5,974.23

                  Total Current Assets                                                           5,974.23

                TOTAL ASSETS                                                                     5,974.23

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Other Current Liabilities
                             Credit Line                                                         35,000.00
                             Credit line US Bank                                                -35,000.00

                        Total Other Current Liabilities                                                0.00

                     Total Current Liabilities                                                         0.00

                  Total Liabilities                                                                    0.00

                  Equity
                    CONTRIBUTED CAPITAL                                                               0.02
                    Distribution                                                               -926,043.00
                    Retained Earnings                                                           932,017.21

                  Total Equity                                                                   5,974.23

                TOTAL LIABILITIES & EQUITY                                                       5,974.23




                                                                                                              Page 1


                              Case 19-60230-pcm11               Doc 52        Filed 03/25/19
Debtor Name     William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,08 H_N_RXRY_ ZS AYPZXR )              * SZ] J. B. &ofB.
                                                                    LName       Investment
                                                                             Controlled      Group,
                                                                                        Non-Debtor    LLCSZ] [R]VZQ RYQVYT [date]
                                                                                                   EntityM


              [Provide a statement of income (loss) for the following periods:

               (i) For the initial report:

                  a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                     the current fiscal year; and

                  b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]

          Source of Information: Books and records maintained by J. B. & B. Investment Group, LLC




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 3

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
                      +1), @=                                 ;3"3 9MTFQRLFMR 8PNSO <<4
                      ')&)-&(0                                      @PNGJR " <NQQ
                      2DDPSBK 3BQJQ                           ;BMSBPV RIPNSHI 5FDFLCFP )'(/

                                                                                              ;BM $ 5FD (/
                                        ?PEJMBPV 9MDNLF&6UOFMQF
                                             9MDNLF
                                                <BME QBKF                                              ',$"--%#&-

                                             ANRBK 9MDNLF                                              ',$"--%#&-

                                          8PNQQ @PNGJR                                                 ',$"--%#&-

                                             6UOFMQF
                                               <NR ('' FMRPV                                                 +)$#$$
                                               @PNGFQQJNMBK 7FFQ                                             (+)#$$
                                               ABUFQ                                                         %)+#-)

                                             ANRBK 6UOFMQF                                               %"',&#-)

                                        >FR ?PEJMBPV 9MDNLF                                            '+-"*$,#'(

                                      >FR 9MDNLF                                                       *.0#-'/%*+




Case 19-60230-pcm11
Doc 52
Filed 03/25/19
                                                                                                                      @BHF (
4:26 PM                             JB&B Investment Group LLC
02/26/19                                  Profit & Loss
Accrual Basis                               January 2019

                                                                     Jan 19
                Net Income                                                    0.00




                                                                                     Page 1


                             Case 19-60230-pcm11   Doc 52   Filed 03/25/19
4:26 PM                             JB&B Investment Group LLC
02/26/19                                  Profit & Loss
Accrual Basis                               January 2019

                                                                     Jan 19
                Net Income                                                    0.00




                                                                                     Page 1


                             Case 19-60230-pcm11   Doc 52   Filed 03/25/19
Debtor Name      William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,18 H_N_RXRY_ ZS <N^U ?WZb^ SZ] J. B. &ofB.
                                                       LName       Investment
                                                                Controlled       Group,
                                                                           Non-Debtor Entity]LLC  for period
                                                                                              SZ] [R]VZQ      ending:
                                                                                                         RYQVYT LdateM             n/a

              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 4

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
11:16 AM                            JB&B Investment Group LLC
03/25/19                            Statement of Cash Flows
                                     January through December 2018

                                                                                 Jan - Dec 18
                OPERATING ACTIVITIES
                  Net Income                                                          379,608.34

                Net cash provided by Operating Activities                             379,608.34

                FINANCING ACTIVITIES
                   Distribution                                                       -375,000.00

                Net cash provided by Financing Activities                             -375,000.00

             Net cash increase for period                                               4,608.34

             Cash at beginning of period                                                1,365.89

           Cash at end of period                                                        5,974.23




                                                                                                    Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
11:15 AM                            JB&B Investment Group LLC
03/25/19                            Statement of Cash Flows
                                                 January 2019

                                                                                      Jan 19
                OPERATING ACTIVITIES
                  Net Income                                                            -645.00

                Net cash provided by Operating Activities                               -645.00

             Net cash increase for period                                               -645.00

             Cash at beginning of period                                               5,974.23

           Cash at end of period                                                       5,329.23




                                                                                                  Page 1


                        Case 19-60230-pcm11                 Doc 52   Filed 03/25/19
Debtor Name      William Berman
               _______________________________________________________                                      19-60230-pcm11
                                                                                               Case number_____________________________________




              >cUVOV_ 9,28 D[J[NTNU[ VO 7QJUPNZ RU DQJYNQVSMNYZa)BJY[UNYZa 9X\R[` %                        * SZ] J.
                                                                                                                 LName
                                                                                                                    B. &ofB.
                                                                                                                          Controlled Non-Debtor
                                                                                                                             Investment   Group,EntityM
                                                                                                                                                   LLC
                                [date]
              SZ] [R]VZQ RYQVYT n/a


              C=VSZNIJ F WXFXJQJRX SK HMFRLJW NR WMFVJMSPIJVW_)TFVXRJVW JUYNX] $deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




        Attached




Official Form 426                 Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 5

                                             Case 19-60230-pcm11               Doc 52         Filed 03/25/19
4:24 PM                                       JB&B Investment Group LLC
02/26/19                          Balance Sheet Prev Year Comparison
Accrual Basis                                        As of December 31, 2018

                                                            Dec 31, 18    Dec 31, 17    $ Change      % Change
                ASSETS
                  Current Assets
                    Checking/Savings
                       Checking US Bank                       5,974.23      1,365.89      4,608.34       337.4%

                     Total Checking/Savings                   5,974.23      1,365.89      4,608.34       337.4%

                  Total Current Assets                        5,974.23      1,365.89      4,608.34       337.4%

                TOTAL ASSETS                                  5,974.23      1,365.89      4,608.34       337.4%

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Other Current Liabilities
                             Credit Line                      35,000.00     35,000.00         0.00         0.0%
                             Credit line US Bank             -35,000.00    -35,000.00         0.00         0.0%

                        Total Other Current Liabilities           0.00          0.00          0.00         0.0%

                     Total Current Liabilities                    0.00          0.00          0.00         0.0%

                  Total Liabilities                               0.00          0.00          0.00         0.0%

                  Equity
                    CONTRIBUTED CAPITAL                            0.02          0.02          0.00        0.0%
                    Distribution                            -926,043.00   -551,043.00   -375,000.00      -68.1%
                    Retained Earnings                        552,408.87     85,822.05    466,586.82      543.7%
                    Net Income                               379,608.34    466,586.82    -86,978.48      -18.6%

                  Total Equity                                5,974.23      1,365.89      4,608.34       337.4%

                TOTAL LIABILITIES & EQUITY                    5,974.23      1,365.89      4,608.34       337.4%




                                                                                                                  Page 1


                                 Case 19-60230-pcm11              Doc 52      Filed 03/25/19
Debtor Name     William Berman
                _______________________________________________________                                  19-60230-pcm11
                                                                                             Case number_____________________________________




              >cUVOV_ ;8 =R^P]V[_VZY ZS E[R]N_VZY^ SZ] All Entities
                                                       LName        - See Non-Debtor
                                                             of Controlled Below     EntityM


              C4JWHVNGJ XMJ RFXYVJ FRI J\XJRX SK XMJ 4JGXSV_W NRXJVJWX NR XMJ 3SRXVSPPJI ;SR-Debtor Entity.

              Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
              JRXNX]_W ISQNRFRX GYWNRJWW WJLQJRXW(

              Describe the source of this information.]



       1) B. & J. Property Investments, Inc. ("B&J"); Debtor's Interest: 50% of outstanding stock.
       B&J has historically been in property acquisition and development. Currently, B&J is primarily engaged in
       the ownership and operation of an RV Park and Mini Storage facility in Salem, Oregon.

       2) Better Business Management, Inc. ("BBM"); Debtor's Interest: 50% of outstanding stock.
       BBM previously leased the RV Park and Mini Storage facility from B&J. BBM no longer has any ongoing
       business operations, and will be wound down and dissolved under the supervision of Debtor and his spouse.

       3) William Lloyd Developments, Inc. ("WLD"); Debtor's Interest: 28% of outstanding stock.
       WLD is involved in property acquisition and development, including speculative real estate acquisition.

       4) J. B. & B. Investment Group, LLC ("JB&B"); Debtor's Interest: 20% of outstanding membership interest.
       JB&B was previously engaged in speculative real estate acquisition. JB&B has sold all of its assets, and no
       longer has any ongoing business operations. JB&B will be wound down and dissolved under the
       supervision of JB&B's other manager, Eugene Jones, who is the Debtor's father­in­law.




Official Form 426               Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 6

                                       Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
Debtor Name      William Berman
                _______________________________________________________                                  19-60230-pcm11
                                                                                             Case number_____________________________________




              >cUVOV_ <8 =R^P]V[_VZY ZS AY_R]PZX[NYd <WNVX^


              [List and describe the Controlled Non-4JGXSV 5RXNX]_W HPFNQW FLFNRWX FR] SXMJV 3SRXVSPPJI ;SR-Debtor Entity, together with
              the basis for such claims and whether each claim is contingent, unliquidated or disputed.

              Describe the source of this information.]



      B. & J. Property Investments, Inc. hold claims against the following:
          a) Debtor - Amount: approximately $61,000
          b) Better Business Management, Inc. - Amount: $595,957.74
          c) William Lloyd Developments, Inc. - Amount: $1,837,322.00

      No other claims exist between the Controlled Non-Debtor Entities.




Official Form 426               Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page 7

                                       Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
Debtor Name       William Berman
                _______________________________________________________                                    19-60230-pcm11
                                                                                             Case number_____________________________________




              >cUVOV_ =8 9WWZPN_VZY ZS INc BVNOVWV_VR^ NYQ 9^^R_^


              [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
              have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
              Entities.

              Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
              Non-Debtor Entity.

              Describe the source of this information.]



         Income and losses allocated to the Debtor in accordance with Debtor's share of ownership in each
         Controlled Non-Debtor Entity. No tax allocation agreements exist with any other Controlled Non­Debtor
          Entities.




Official Form 426               Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page /.

                                       Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
Debtor Name
                 William Berman
                _______________________________________________________
                                                                                                           19-60230-pcm11
                                                                                             Case number_____________________________________




              >cUVOV_ >8 =R^P]V[_VZY ZS <ZY_]ZWWRQ DZY,8NK[VY 9U[R[`aZ WJ`TNU[Z VO 5MTRURZ[YJ[R]N 9_WNUZNZ+ Z] F]ZSR^^VZYNW ?RR^
              Z_UR]bV^R [NdNOWR Od N =RO_Z]


              [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
              connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
              any Debtor.

              Describe the source of this information.]


          None of the Controlled Non-Debtor Entities have made payments or obligations incurred in connection
          with any claims, administrative expenses, or professional fees that have or could be asserted against the
          Debtor.




Official Form 426               Periodic Report About Controlled Non-4JGXSV 5RXNX]_W AFPYJ& <TJVFXNSRW, and Profitability           page //

                                       Case 19-60230-pcm11                   Doc 52         Filed 03/25/19
